Case 1:16-cv-06726-WFK-SMG Document 21 Filed 06/26/17 Page 1 of 30 PageID #: 228




       UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK
                                                             x
       ELVIA PONCE GARCIA and DEMETRIO
       PEREZ LOPEZ,
                                                                 NOTICE OF DEPOSITION
                                      Plaintiffs,
                                                                 Civil Court Action No.: 16-6726
               - against -

       UNITED STATES OF AMERICA,SHAILINI
       SINGH, M.D., JOHN ILAGAN, M.D. and
       LUTHERAN MEDICAL CENTER,

                                      Defendants.



       SIR/MADAM:

                         PLEASE TAKE NOTICE, that we will take the deposition of the following

       parties or persons, before a Notary Public not affiliated with any of the parties or their attomeys,

       on all relevant and material issues, as authorized by Article 31 of the CPLR:

       PLAINTIFFS:             ELVIA PONCE GARCIA and DEMETRIO PERERZ LOPEZ

       DATE:                   September 20, 2017

       TIME:                   10:00 A.M.

       PLACE:                  AARONSON RAPPAPORT FEINSTEIN & DEUTSCH,LLP
                               600 Third Avenue
                               New York, New York 10016




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                        PLEASE TAKE FURTHER NOTICE,that the persons to be examined are

        equired to produce all books, records and papers in their custody and possession that may be

        elevant to the issues herein.


       Dated: New York, New York
              June 21,2017




                                                   BY: Robert J. Chappell
                                                   AARONSON RAPPAPORT FEINSTEIN &
                                                   DEUTSCH,LLP
                                                   Attorneys for Defendants
                                                   SHAILINI SINGH, M.D. and NYU LUTHERAN
                                                   MEDICAL CENTER s/h/a LUTHERAN
                                                   MEDICAL CENTER
                                                   Office & P.O. Address
                                                   600 Third Avenue
                                                   New York, NY 10016
                                                   212-593-6700

       To:        TROLMAN, GALER & LICHTMAN,P.C.
                  Attorneys for Plaintiffs
                  747 Third Avenue - 23rd Floor
                  New York, New York 10017
                  (212)750-1200




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       UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK
                                                                 x

       ELVIA PONCE GARCIA and DEMETRIO
       PEREZ LOPEZ,                                                  DEMAND FOR EXPERT WITNESS
                                                                     INFORMATION
                                         Plaintiffs,
                                                                     Civil Court Action No. 16-6726
               - against -

       UNITED STATES OF AMERICA,SHAILINI
       SINGH, M.D., JOHN ILAGAN, M.D. and
       LUTHERAN MEDICAL CENTER,

                                         Defendants.
                                                                 x


       SIR/MADAM:

               PLEASE TAKE NOTICE, that demand is hereby made upon you, pursuant to CPLR

       §3101(d)(1) to disclose the following information:


               1.         Disclose each person plaintiff(s) expect(s) to call as an expert witness at trial.

               2.     Disclose in reasonable detail the qualifications of each expert witness. Include
       the following:

                          a)     Where did the expert attend medical school and when did he or she
                                 graduate?

                          b)     Did the expert attend internship, residency and/or fellowship programs: If
                                 so, where and when?

                          c)     Does the expert specialize in any areas of medicine?

                          d)     Is the expert Board Certified in any areas of medicine?

                          e)     Is the expert licensed to practice medicine in the United States? If so,
                                 where and when was he or she licensed?

                          f)      What are the expert's hospital affiliations, if any?

               3.      With respect to each and every act or omission which you will claim as the basis
       of the alleged malpractice of the defendant(s) herein, disclose in detail the substance of the facts


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        and opinions upon which each expert is expected to testify and a summary of the grounds for
      1 each expert's opinion, to include reference to the following:

                        a)   The condition or conditions which it is claimed the defendant(s) undertook
                             to treat and upon which plaintiff s(s') complaint(s) is/are based;

                        b)   A statement of the accepted medical practices, customs and medical
                             standards which it is claimed were violated by the defendant(s) herein in
                             each of the acts or omissions claimed to be the basis of the liability against
                             it (them);

                        c)   The manner in which the defendant(s) herein departed from the above
                             accepted medical practices, customs and standards;

                        d)   If the plaintiff(s) claim(s) that the defendant(s) ignored or improperly
                             interpreted complaints, signs, symptoms or conditions; made an erroneous
                             diagnosis; failed to make a proper diagnosis; improperly treated the
                             plaintiff(s); failed to take proper tests; improperly took or administered
                             tests; failed to perform a proper physical examination; set forth:

                                     The complaints, signs, symptoms or conditions that the
                                     defendant(s)failed to interpret properly;

                             (ii)    The proper interpretation, which plaintiff(s) claims should have
                                     been reached or made;

                             (iii)   In what respect the diagnosis was erroneous and incorrect;

                             (iv)    The claimed proper diagnosis;

                             (v)     The improper treatment which it is alleged was rendered;

                             (vi)    The treatment which it is claimed by plaintiff(s) should have been
                                     rendered;

                             (vii)   The name and/or description of each and every test defendant(s)
                                     failed to take or administer;

                             (viii) The name of each and every test the defendant(s) improperly took
                                    or had administered or taken;

                             (ix)    The manner in which it is claimed such test(s) should have been
                                     administered or taken;

                             (x)     A description of the physical examination performed;

                             (xi)    The manner in which it is claimed such physical examination
                                     should have been performed.



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                          e)   If it is alleged that the defendant(s) herein improperly performed a surgical
                               procedure or that it was contraindicated and/or unnecessary, set forth:

                               (i)     The name of each surgical procedure and the date it was
                                       performed;

                               (ii)    The surgical procedure which it is claimed was contraindicated,
                                       and/or unnecessary;

                               (iii)   In which manner the aforesaid surgical procedure was contraindi-
                                       cated;

                               (iv)    In what manner the aforesaid surgical procedure was improperly
                                       performed;

                               (v)     In what manner the aforesaid surgical procedure should have been
                                       performed.

                               If any of the claims of medical malpractice relate to the prescribing of a
                               drug or medication, state:

                                       The name of each drug or medication prescribed;

                               (ii)    The dates(s) ofeach prescription;

                               (iii)   The drugstore(s) where each prescription filled;

                               (iv)    The number of times each prescription was filled;

                               (v)     The pharmacy number of each prescription.

                          g)   If the plaintiff claims that the defendant(s) herein administered improper,
                               inappropriate and/or contraindicated drugs, administered proper drugs in
                               incorrect dosages, set forth:

                               (i)     The generic and trade name of each and every improper and/or
                                       contraindicated drug which was administered or prescribed;

                               (ii)    The name of each proper drug allegedly administered incorrectly
                                       or in incorrect dosages;

                               (iii)   The manner in which it is claimed each such drug should have
                                       been administered and/or the correct dosage thereof, or the proper,
                                       appropriate and/or indicated drug.




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                          PLEASE TAKE FURTHER NOTICE, that failure to comply with the said

       demand within sixty (60) days from the last timely service of an answer herein, pursuant to 22

       NYCRR 202.56(a)(1)(vi), will result in a motion for an order precluding the introduction, at the

       time of trial, of any testimony concerning alleged departures from medical standards of care,

       proximately caused injuries, or economic damages.


       Dated:      New York, New York
                   June 21,2017




                                                   BY: Robert J. Chappell
                                                   AARONSON RAPPAPORT FEINSTEIN &
                                                   DEUTSCH,LLP
                                                   Attorneys for Defendants
                                                   SHAILINI SINGH, M.D. and NYU LUTHERAN
                                                   MEDICAL CENTER s/h/a LUTHERAN
                                                   MEDICAL CENTER
                                                   Office & P.O. Address
                                                   600 Third Avenue
                                                   New York, NY 10016
                                                   212-593-6700


       To:         TROLMAN,GALER & LICHTMAN,P.C.
                   Attorneys for Plaintiffs
                   747 Third Avenue - 23rd Floor
                   New York, New York 10017
                   (212)750-1200




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       UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK
                                                               x

       ELVIA PONCE GARCIA and DEMETRIO
       PEREZ LOPEZ,                                                NOTICE TO PRODUCE NAMES
                                                                   AND ADDRESSES OF WITNESSES
                                         Plaintiffs,
                                                                   Civil Court Action No. 16-6726
               - against -

       UNITED STATES OF AMERICA,SHAILINI
       SINGH, M.D., JOHN ILAGAN, M.D. and
       LUTHERAN MEDICAL CENTER,

                                         Defendants.
                                                               x


       SIR/MADAM:

               PLEASE TAKE NOTICE, that pursuant to CPLR §3101, all counsel are required to

       produce any and all names and addresses of persons:

                          1. Claimed to have witnessed the acts of omission or commission alleged in the
                             complaint;

                          2. Claimed to have firsthand knowledge of the acts of omission or commission
                             alleged in the complaint;

                          3. Claimed to be witnesses to any acts, omissions or conditions which allegedly
                             caused the occurrence alleged in the complaint;

                          4. Claimed to be witnesses to any communications involving the defendant
                             which plaintiff may seek to introduce at trial; and

                          5. If plaintiffs' attorney, representative or plaintiff (him or herself as the case
                             may be) has or have conducted an interview with any of the physicians who
                             treated the injuries alleged herein or related conditions, whether preexisting
                             the alleged malpractice or occurring subsequent thereto, set forth:

                                 a. The full name and address ofthe physician;

                                 b. The corresponding date on which each interview was conducted;

                                 c. The full name and address ofeach person conducting the said
                                    interview;


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                                d. The full name address of every other person — if any — in attendance;

                                e. Whether any mechanical device such as, but not limited to,
                                   stenographic note taking, audio and/ or videotaping, etc. was utilized
                                   during said interview.

       At the offices of the undersigned attorneys within twenty (20) days from the date hereof.

                          PLEASE TAKE FURTHER NOTICE, that this is to be deemed a continuing

       demand, and all responsive information that subsequently is made known or becomes available

       to plaintiff shall be furnished to the undersigned in a timely fashion.

                          PLEASE TAKE FURTHER NOTICE, that failure to provide the aforesaid

       information within twenty (20) days after receipt of this Notice, will leave you subject to the

       provisions of the CPLR.


       Dated:      New York, New York
                   June 21,2017


                                                      Yours, eft:


                                                      BY: Robert J. Chappell
                                                      AARONSON RAPPAPORT FEINSTEIN &
                                                      DEUTSCH,LLP
                                                      Attorneys for Defendants
                                                      SHAILINI SINGH, M.D. and NYU LUTHERAN
                                                      MEDICAL CENTER s/h/a LUTHERAN
                                                      MEDICAL CENTER
                                                      Office & P.O. Address
                                                      600 Third Avenue
                                                      New York, NY 10016
                                                      212-593-6700


       To:         TROLMAN,GALER & LICHTMAN,P.C.
                   Attorneys for Plaintiffs
                   747 Third Avenue - 23rd Floor
                   New York, New York 10017
                   (212)750-1200



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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF KINGS
                                              x

          ELVIA PONCE GARCIA and DEMETRIO
          PEREZ LOPEZ,                                              DEMAND FOR COLLATERAL
                                                                    SOURCE INFORMATION
                                         Plaintiff,
                                                                    Civil Court Action No. 514095/2015
                 - against -

         ERNESTO RODRIGUEZ-DUMONT,M.D.,
         SHAILINI SINGH, M.D., JYOTHI CHOWDARY
         NANNAPANENI, M.D., LUTHERAN FAMILY
     I I HEALTH CENTERS and LUTHERAN
     I MEDICAL CENTER,
     I
                                         Defendants.
                                                                x


          SIR/MADAM:

                 PLEASE TAKE NOTICE, that demand is hereby made upon you pursuant to CPLR

          §4545 to produce and permit the undersigned attorneys to inspect and copy the contents of:

                 1. Each and every collateral source of payment, including but not limited to insurance

          agreements (except life insurance), Social Security (except those benefits provided under Title

          XVIII of the Social Security Act), Workers' Compensation or employee benefit programs(except

          such collateral sources entitled by law to liens against any recovery of the plaintiff), and any

          other collateral source of payment for past or future costs or expenses alleged to have been

          incurred by the plaintiff(s) and for which recovery is sought in the instant action, and


                 2. A written statement setting forth any and all such collateral sources and their

      I   amounts.


                 PLEASE TAKE FURTHER NOTICE, that failure to produce said collateral sources of



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       payment at the offices of the undersigned within twenty (20) days from the date herein,

       result in a motion for appropriate relief.



       Dated:      New York, New York
                   June 21, 2017




                                                     BY: Robert J. Chappell
                                                     AARONSON RAPPAPORT FEINSTEIN &
                                                     DEUTSCH,LLP
                                                     Attorneys for Defendants
                                                     SHAILINI SINGH, M.D. and LUTHERAN
                                                     MEDICAL CENTER
                                                     Office & P.O. Address
                                                     600 Third Avenue
                                                     New York, NY 10016
                                                     212-593-6700


         o:        TROLMAN,GLASER & LICHTMAN,P.C.
                   Attorneys for Plaintiff(s)
                   747 Third Avenue
                   New York, New York 10017
                   (212)750-1200




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        UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK
                                                            x

        ELVIA PONCE GARCIA and DEMETRIO
        PEREZ LOPEZ,                                            DEMAND PURSUANT TO
                                                                CPLR §2103
                                      Plaintiffs,
                                                                Civil Court Action No. 16-6726
                 - against -

        UNITED STATES OF AMERICA,SHAILINI
        SINGH, M.D., JOHN ILAGAN, M.D. and
        LUTHERAN MEDICAL CENTER,

                                      Defendants.
                                                            x



        SIR/MADAM:

                 PLEASE TAKE NOTICE,that pursuant to §2103(e) of the Civil Practice Law and Rules,

        you are hereby required to furnish to the undersigned the names and addresses of the parties, and

        their respective attorneys who have appeared in this action.

        Dated:       New York, New York
                     June 21,2017


                                                     Yours etc.


                                                     BY: Robert J. Chappell
                                                     AARONSON RAPPAPORT FEINSTEIN &
                                                     DEUTSCH,LLP
                                                     Attorneys for Defendants
                                                     SHAILINI SINGH, M.D. and NYU LUTHERAN
                                                     MEDICAL CENTER s/h/a LUTHERAN
                                                     MEDICAL CENTER
                                                     Office & P.O. Address
                                                     600 Third Avenue
                                                     New York, NY 10016
                                                     212-593-6700



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       To:          TROLMAN, GALER & LICHTMAN,P.C.
                    Attorneys for Plaintiffs
                    747 Third Avenue - 23rd Floor
                    New York, New York 10017
                    (212)750-1200




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        UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK
                                                             x

        ELVIA PONCE GARCIA and DEMETRIO
        PEREZ LOPEZ,                                             DEMAND FOR INDEX NUMBER
                                                                 RECEIPT
                                        Plaintiffs,
                                                                 Civil Court Action No. 16-6726
                 - against -

        UNITED STATES OF AMERICA,SHAILINI
        SINGH, M.D., JOHN ILAGAN,M.D. and
        LUTHERAN MEDICAL CENTER,

                                        Defendants.
                                                             x


        SIR/MADAM:

                           PLEASE TAKE NOTICE,that demand is hereby made that you serve upon the

        undersigned within fifteen(15) days hereof, a copy of the receipt of the purchase of the Index

        Number assigned to the above-captioned matter pursuant to CPLR §306-a.

        Dated:       New York, New York
                     June 21,2017


                                                      Yours, etc:


                                                      BY: Robert J. Chappell
                                                      AARONSON RAPPAPORT FEINSTEIN &
                                                      DEUTSCH,LLP
                                                      Attorneys for Defendants
                                                      SHAILINI SINGH, M.D. and NYU LUTHERAN
                                                      MEDICAL CENTER s/h/a LUTHERAN
                                                      MEDICAL CENTER
                                                      Office & P.O. Address
                                                      600 Third Avenue
                                                      New York, NY 10016
                                                      212-593-6700




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        To:        TROLMAN,GALER & LICHTMAN,P.C.
                   Attorneys for Plaintiffs
                   747 Third Avenue - 23rd Floor
                   New York, New York 10017
                   (212)750-1200




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          UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF NEW YORK
                                                                       x

        ELVIA PONCE GARCIA and DEMETRIO PEREZ
      1 LOPEZ,                                                             DEMAND FOR AUTHORIZATIONS
                                                                           FOR HOSPITAL AND PHYSICIAN'S
                                             Plaintiffs,                   RECORDS AND INTERVIEWS FOR
                                                                           TREATING PHYSICIAN
                  - against -
                                                                           Civil Court Action No. 16-6726
      !I UNITED STATES OF AMERICA,SHAILINI
         SINGH, M.D., JOHN ILAGAN,M.D. and
         LUTHERAN MEDICAL CENTER,

                                             Defendants.
                                                                       x

          SIR/MADAM:

                  PLEASE TAKE NOTICE,that demand is hereby made that you serve upon the undersigned

          duly executed authorizations for the release of the records pertaining to the care and treatment

          rendered to the plaintiff in any and all hospitals.

                  Demand is additionally made that you serve upon the undersigned duly executed

          authorizations for the release of records of any and all treating physicians and other medical

          providers.

                  Demand is further made that you serve upon the undersigned duly executed authorizations

          in accordance with Arons v. Jutkowitz, 9 NY3rd 393 (2007), for the ex parte interview by defense

          counsel of any and all treating physicians and all other medical providers in the form attached hereto

          or other form complying with 45 CFR 164.508 [e][1],[2] to the extent that each such authorization
      I
          set forth:

                  1)         This law firm's name;

                  2)         The identity of this law firm's client;

                  3)         The "protected" and related health information expected to be disclosed;

                  4)         The non-party medical provider's right to refuse the request for the ex parte

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                         interview;

                 5)      That the aforesaid authorization is to remain valid for the duration of this lawsuit.

                 The aforementioned authorizations should include the full name and address of each

        institution and/or physician and the dates of confinement or treatment and should be in the form

        attached hereto or other HIPAA compliant form.

                 PLEASE TAKE FURTHER NOTICE,that failure to comply with this demand will serve as

        a basis for a motion to preclude the plaintiff upon the trial of this action from offering proof relative

        to all claimed injuries and medical damages if such authorizations are not forthcoming within

        twenty(20)days after service of a copy ofthe within Demand.


        Dated:        New York, New York
                      June 21,2017


                                                         Yours,etc:—


                                                        BVRobert J. Chappell
                                                        AARONSON RAPPAPORT FEINSTEIN &
                                                        DEUTSCH,LLP
                                                        Attorneys for Defendants
                                                        SHAILINI SINGH, M.D. and NYU LUTHERAN
                                                        MEDICAL CENTER s/h/a LUTHERAN
                                                        MEDICAL CENTER
                                                        Office & P.O. Address
                                                        600 Third Avenue
                                                        New York, NY 10016
                                                        212-593-6700


        To:           TROLMAN, GALER & LICHTMAN,P.C.
                      Attorneys for Plaintiffs
                      747 Third Avenue - 23rd Floor
                      New York, New York 10017
                      (212)750-1200




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                                                                                           OCA Official Form No.: 960
          AUTHORIZATION FOR RELEASE OF HEALTH               INFORMATION       PURSUANT       TO HIPAA
                   [This form has been approved by the New York State Department of Health]

 Patient Name                                                                       Date of Birth                       Social Security Number


 Patient Address


I, or my authorized representative, request that health information regarding my care and treatment be released as set forth on this form:
In accordance with New York State Law and the Privacy Rule of the Health Insurance Portability and Accountability Act of 1996
(HIPAA), I understand that:
 1. This authorization may include disclosure of information relating to ALCOHOL and DRUG ABUSE, MENTAL HEALTH
TREATMENT,except psychotherapy notes, and CONFIDENTIAL HIV* RELATED INFORMATION only if I place my initials on
the appropriate line in Item 9(a). In the event the health information described below includes any of these types of information, and I
initial the line on the box in Item 9(a), I specifically authorize release of such information to the person(s)indicated in Item 8.
2. If I am authorizing the release of HIV-related, alcohol or drug treatment, or mental health treatment information, the recipient is
prohibited from redisclosing such information without my authorization unless permitted to do so under federal or state law. I
understand that I have the right to request a list of people who may receive or use my HIV-related information without authorization. If
I experience discrimination because of the release or disclosure of HIV-related information, I may contact the New York State Division
of Human Rights at (212) 480-2493 or the New York City Commission of Human Rights at (212) 306-7450. These agencies are
responsible for protecting my rights.
3. I have the right to revoke this authorization at any time by writing to the health care provider listed below. I understand that I may
revoke this authorization except to the extent that action has already been taken based on this authorization.
4. I understand that signing this authorization is voluntary. My treatment, payment, enrollment in a health plan, or eligibility for
benefits will not be conditioned upon my authorization of this disclosure.
5. Information disclosed under this authorization might be redisclosed by the recipient (except as noted above in Item 2), and this
redisclosure may no longer be protected by federal or state law.
6. THIS AUTHORIZATION DOES NOT AUTHORIZE YOU TO DISCUSS MY HEALTH INFORMATION OR MEDICAL
CARE WITH ANYONE OTHER THAN THE ATTORNEY OR GOVERNMENTAL AGENCY SPECIFIED IN ITEM 9(b).
 7. Name and address of health provider or entity to release this information:

8. Name and address ofperson(s) or category of person to whom this information will be sent:
   Aaronson Rappaport Feinstein 8/ Deutsch,1A,13.600 Third Avenue, New York, NY 10016 and their record retrieval agents Record Access Corporation 206 Fifth
   Avenue. New York. NY 10001 and/or Leval-Med Sunnort Inc 132 Fast 43rd Street Suite 715 New York NY 10017
9(a). Specific information to be released:
     1-1 Medical Record from (insert date)                              to (insert date)
     0 Entire Medical Record, including patient histories, office notes (except psychotherapy notes), test results, radiology studies, films,
          referrals, consults, billing records, insurance records, and records sent to you by other health care providers.
      .-1 Other:                                                                             Include: (Indicate by Initialing)
                                                                                                               Alcohol/Drug Treatment
                                                                                                               Mental Health Information
Authorization to Discuss Health Information                                                                    HIV-Related Information
 (b) J By initialing here                I authorize
                                Initials                                 Name ofindividual health care provider
      to discuss my health information with my attorney, or a governmental agency, listed here:

                                          (Attomey/Firm Name or Governmental Agency Name)
 10. Reason for release ofinformation:                               11. Date or event on which this authorization will expire:
     U At request of individual
     J Other:
 12. If not the patient, name of person signing form:                13. Authority to sign on behalf of patient:

All items on this form have been completed and my questions about this form have been answered. In addition, I have been provided a
copy of the form.

                                                                               Date:
  Signature of patient or representative authorized by law.
 * Human Immunodeficiency Virus that causes AIDS. The New York State Public Health Law protects information which reasonably could
   identify someone as having HIV symptoms or infection and information regarding a person's contacts.
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                                   Instructions for the Use
                       of the HIPAA-compliant Authorization Form to
                      Release Health Information Needed for Litigation



           This form is the product of a collaborative process between the New York State
    Office of Court Administration, representatives of the medical provider comrnunity in
    New York, and the bench and bar, designed to produce a standard official form that
    complies with the privacy requirements of the federal Health Insurance Portability and
    Accountability Act("HIPAA") and its implementing regulations, to be used to authorize
    the release of health information needed for litigation in New York State courts. It can,
    however, be used more broadly than this and be used before litigation has been
    commenced, or whenever counsel would find it useful.

           The goal was to produce a standard HIPAA-compliant official form to obviate the
    current disputes which often take place as to whether health information requests made in
    the course of litigation meet the requirements of the HIPAA Privacy Rule. It should be
    noted, though, that the form is optional. This form may be filled out on line and
    downloaded to be signed by hand, or downloaded and filled out entirely on paper.

           When filing out Item 11, which requests the date or event when the authorization
    will expire, the person filling out the form may designate an event such as "at the
    conclusion of my court case or provide a specific date amount of time, such as "3 years
    from this date".

           If a patient seeks to authorize the release of his or her entire medical record, but
    only from a certain date, the first two boxes in section 9(a) should both be checked, and
    the relevant date inserted on the first line containing the first box.
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        UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK
                                                              x

        ELVIA PONCE GARCIA and DEMETRIO
        PEREZ LOPEZ,                                              DEMAND FOR TAX RETURNS
                                                                  AND EMPLOYMENT RECORDS
                                       Plaintiffs,
                                                                    Civil Court Action No. 16-6726
                 - against -

        UNITED STATES OF AMERICA,SHAILINI
        SINGH, M.D., JOHN ILAGAN,M.D. and
        LUTHERAN MEDICAL CENTER,

                                       Defendants.
                                                              x


        SIR/MADAM:

               PLEASE TAKE NOTICE, that pursuant to Rule 3120 of the CPLR, you are hereby
        required to famish to the undersigned full and complete copies, or, authorizations to obtain full
        and complete copies of all employment and tax records referable to the plaintiff(s).

                PLEASE TAKE FURTHER NOTICE, that failure to provide the aforesaid authorizations
         within twenty (20) days after receipt of this Notice will leave you subject to the provisions of the
       I CPLR.


        Dated:       New York, New York
                     June 21,2017

                                                      Yours,-etc:


                                                      B1': Robert J. Chappell
                                                      AARONSON RAPPAPORT FEINSTEIN &
                                                      DEUTSCH,LLP
                                                      Attorneys for Defendants
                                                      SHAILINI SINGH, M.D. and NYU LUTHERAN
                                                      MEDICAL CENTER s/h/a LUTHERAN
                                                      MEDICAL CENTER
                                                      Office & P.O. Address
                                                      600 Third Avenue
                                                      New York, NY 10016
                                                      212-593-6700


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        To:         TROLMAN,GALER & LICHTMAN,P.C.
                    Attorneys for Plaintiffs
                    747 Third Avenue - 23rd Floor
                    New York, New York 10017
                    (212)750-1200




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      / UNITED STATES DISTRICT COURT
      ' EASTERN DISTRICT OF NEW YORK
                                                            x

        ELVIA PONCE GARCIA and DEMETRIO
        PEREZ LOPEZ,                                            NOTICE TO PRODUCE
                                                                STATEMENTS
                                       Plaintiffs,
                                                                Civil Court Action No. 16-6726
                - against -

        UNITED STATES OF AMERICA,SHAILINI
        SINGH, M.D., JOHN ILAGAN,M.D. and
      I LUTHERAN MEDICAL CENTER,

                                       Defendants.
                                                            x



        SIR/MADAM:




                           PLEASE TAKE NOTICE, that pursuant to §3101(e) of the Civil Practice Law

        and Rules, you are hereby required to produce at the offices of the undersigned attorneys within

        twenty (20) days from the date herein, any statements made by defendant(s), SHAILINI

        SINGH, M.D. and NYU LUTHERAN MEDICAL CENTER s/h/a LUTHERAN MEDICAL

        CENTER, and/or the statements of any of their employees and/or the statements of their former

        employees relating to the issues in this matter, including but not limited to any and all records

        obtained from said defendant(s).




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                           PLEASE TAKE FURTHER NOTICE, that upon failure to produce the aforesaid

       items, a motion will be made to the Court for the appropriate relief with costs.


       Dated:       New York, New York
                    June 21,2017


                                                     Yours te
                                                           :


                                                    B : Robert J. Chappell
                                                    AARONSON RAPPAPORT FEINSTEIN &
                                                    DEUTSCH,LLP
                                                    Attorneys for SHAILINI SINGH, M.D. and NYU
                                                    LUTHERAN MEDICAL CENTER s/h/a
                                                    LUTHERAN MEDICAL CENTER
                                                    Office & P.O. Address
                                                    600 Third Avenue
                                                    New York, NY 10016
                                                    212-593-6700


         o:        TROLMAN,GALER & LICHTMAN,P.C.
                   Attorneys for Plaintiffs
                   747 Third Avenue - 23rd Floor
                   New York, New York 10017
                   (212)750-1200




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        UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK
                                                            x

        ELVIA PONCE GARCIA and DEMETRIO
        PEREZ LOPEZ,                                            NOTICE TO PRODUCE
                                                                CERTIFICATE OF MERIT
                                      Plaintiffs,
                 - against -                                    Civil Court Action No. 16-6726

      11 UNITED STATES OF AMERICA,SHAILINI
         SINGH, M.D., JOHN ILAGAN, M.D. and
         LUTHERAN MEDICAL CENTER,

                                      Defendants.
                                                            x
        SIR/MADAM:

                    PLEASE TAKE NOTICE, that pursuant to §3012-a(a)(2) of the Civil Practice Law

        and Rules, you are hereby required to furnish the undersigned with a Certificate of Merit.


                    PLEASE TAKE FURTHER NOTICE, that failure to provide the aforesaid within

        twenty (20) days after the receipt of this notice, will leave you subject to the provisions of the

        CPLR.


        Dated:       New York, New York
                     June 21, 2017




                                                     BY: Robert J. Chappell
                                                     AARONSON RAPPAPORT FEINSTEIN &
                                                     DEUTSCH,LLP
                                                     Attorneys for SHAILINI SINGH, M.D. and NYU
                                                     LUTHERAN MEDICAL CENTER s/h/a
                                                     LUTHERAN MEDICAL CENTER
                                                     Office & P.O. Address
                                                     600 Third Avenue
                                                     New York, NY 10016
                                                     212-593-6700



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       To:        TROLMAN,GALER & LICHTMAN,P.C.
                  Attorneys for Plaintiffs
                  747 Third Avenue - 23rd Floor
                  New York, New York 10017
                  (212)750-1200




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           UNITED STATES DISTRICT COURT
           EASTERN DISTRICT OF NEW YORK
                                                               x

           ELVIA PONCE GARCIA and DEMETRIO
           PEREZ LOPEZ,                                            DEMAND FOR DISCLOSURE OF
                                                                   MEDICARE/MEDICAID/BENEFITS
                                        Plaintiffs,                /ELIGIBILITY

                  - against -                                      Civil Court Action No. 16-6726
       1
           UNITED STATES OF AMERICA,SHAILINI
           SINGH, M.D., JOHN ILAGAN,M.D. and
           LUTHERAN MEDICAL CENTER,

                                        Defendants.


                                                               x


           Dear Sir/Madam:

                 PLEASE TAKE NOTICE that demand is hereby made that plaintiff(s) provide the
           ollowing information pursuant to CPLR 3120(a) and 42 U.S.C. Section 1395y(b)(8)(A):

              1. The plaintiffs date of birth;
              2. The plaintiffs Social Security Number;
              3. The plaintiffs Medicare Health Insurance Claim Numbers (HICNs), Medicaid file
                 number, New York State Department of Social Services (DSS) file number, and/or
                 Medicare Secondary Payor(MSP)file number, if applicable;
              4. If the plaintiff has applied for or been awarded Medicare and/or Medicaid and/or DSS
                 and/or MSP benefits, all information/documentation related to the application applied
                 and/or award of said benefits including the amount paid out to plaintiff to date which is
                 subject to the mandatory reporting requirements of MMSEA § 111; include the full name
                 under which plaintiff applied for these benefits;
              5. If the plaintiff has applied for or been awarded Supplemental Security Income (SSI), or
                 Social Security Disability Insurance (SSDI), all information/documentation related to the
                 application and/or award of said benefits; include the full name under which plaintiff
                 applied for these benefits;
              6. State if plaintiff applied for insurance benefits with a private insurer pursuant to Medicare
                 part B, C, or D. If yes, provide the name and address of the insurer and set forth the
                 benefits provided.
              7. If plaintiff has been receiving Medicare benefits and is now deceased, please provide the
                 following•
                     a. Relationship of the administrator of plaintiffs estate to plaintiffs decedent.
                     b. Name and address of Plaintiffs administrator.



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                    c. Telephone number and/or e-mail address of plaintiffs administrator.
                    d. Social Security Number of plaintiffs administrator.
           8. If the plaintiff has been denied Medicare, Medicaid, SSI, and/or SSDI benefits, provide
               all information/documentation concerning any such denial;
           9. If the plaintiff has appealed or intends to appeal the denial of Medicare, Medicaid, SSI,
               and/or SSDI benefits, provide all information/documentation of any such appeal or
               intents to appeal of the denial of such benefits; and
           10. State whether Medicare, Medicaid and/or the Social Security Administration has a lien on
               any potential award,judgment or settlement in this lawsuit and, if so, state the amount of
               such lien(s) and provide all information /documentation relative to these liens.

               Pursuant to CPLR § 3101(a), provide duly executed and acknowledged written
           authorizations permitting defendant's attorneys and defendant's representatives to obtain and
           make copies of all Medicaid records, specifying the correct address of said Medicaid office,
           along with the plaintiffs Social Security Number and the file number. Said defendant
           further demands that a signed original of the attached Authorization for Release of Medicaid
           Protected Information, and/or any other specific authorization required by Medicaid be
           executed and provided for use in conjunction with this demand as it pertains to health
           information.

               If plaintiff received or applied for Social Security benefits, including but not limited to
           SSI or SSDI benefits, provide a duly executed and acknowledged written authorization
           setting forth the correct Social Security file number, allowing the defendant's attorneys and
           defendant's representatives to obtain and make copies of all files, records, and reports of the
           Social Security Administration regarding the plaintiff. Said defendant further demands that a
           signed original of the attached Social Security Administration Consent for Release of
           Information and/or any other specific authorization required by the Social Security
           Administration be executed and provided for use in conjunction with this demand as it
           pertains to health information.

              PLEASE TAKE FURTHER NOTICE that the provisions of CPLR 3122 govern this
       demand and if the party to whom the notice is directed objects to the disclosure, inspection or
       examination or withholds any documents which appear to be within the category of the
       documents required by the notice, compliance with CPLR 3122 is required.

              PLEASE TAKE FURTHER NOTICE that in the event of failure or refusal to comply
       with any of these demands, said defendant will apply to the Court for the appropriate relief
       including, but not limited to, an Order compelling compliance pursuant to CPLR 3124 and/or
       appropriate relief pursuant to CPLR § 3126 and 22 N.Y.C.R.R. Part 130.




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              PLEASE TAKE FURTHER NOTICE, that all demands herein shall be deemed to
       continue during the pendency of this action through and including the trial thereof and plaintiffs
       responses must be amended or supplemented properly in compliance with CPLR § 3101(h).

        Dated:     New York, New York
                   June 21, 2017


                                                    Yours, etc.


                                                    BY: Robert J. Chappell
                                                    AARONSON RAPPAPORT FEINSTEIN &
                                                    DEUTSCH,LLP
                                                    Attorneys for Defendants
                                                    SHAILINI SINGH, M.D. and NYU LUTHERAN
                                                    MEDICAL CENTER s/h/a LUTHERAN
                                                    MEDICAL CENTER
                                                    Office & P.O. Address
                                                    600 Third Avenue
                                                    New York, NY 10016
                                                    212-593-6700


       To.        TROLMAN, GALER & LICHTMAN,P.C.
                  Attorneys for Plaintiffs
                  747 Third Avenue - 23rd Floor
                  New York, New York 10017
                  (212)750-1200




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        UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK
                                                              x
        ELVIA PONCE GARCIA and DEMETRIO
        PEREZ LOPEZ,
                                                                  DEMAND FOR SOCIAL
                                       Plaintiffs,                NETWORKING INFORMATION

               - against -                                        Civil Court Action No. 16-6726

        UNITED STATES OF AMERICA,SHAILINI
        SINGH, M.D., JOHN ILAGAN,M.D. and
        LUTHERAN MEDICAL CENTER,

                                       Defendants.
                                                              x
        COUNSELORS:

               PLEASE TAKE NOTICE, that pursuant to Article 31 of the CPLR, §2305 and §3120 of

        the CPLR, you are hereby required to serve upon AARONSON RAPPAPORT FEINSTEIN &

        DEUTSCH, LLP, attorneys for the defendant SHAILINI SINGH, M.D. and NYU LUTHERAN

        MEDICAL CENTER s/h/a LUTHERAN MEDICAL CENTER, within twenty (20) days after

        service of a copy of this demand, setting forth in detail the following documents and materials:

                         (1) Original, signed, fully addressed, fully executed HIPAA-compliant

        authorizations, containing complete names and addresses of each social networking

        entity/provider, date of birth and social security number of Plaintiff, and any other identifying

        information for the release of any and all historical records/information for Plaintiffs':

                               a)   Facebook account;
                               b)   Myspace account;
                               c)   Twitter account;
                               d)   Foursquare account;
                               e)   Google Buzz account;
                               f)   Shutterfly.com account;
                               g)   Flickr.com account;
                               h)   Snapfish.com account;
                               i)   Linkedln account;
                               j)   Evite.com account;



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                                k) Punchbowl.com account;
                                1) Classmates.com account;
                                m) Active.com account;
                                n) Bebo.com account;
                                o) Friendster account; and
                                p) Instagram account.

                         (2)Identify any other social networking site(s) which Plaintiff has been a member

        offrom five (5) years prior to the alleged date of negligence to present.

                 The above authorizations must include the email address linked to the account, along

        with all other required identifying information. If Plaintiff never had such an account, then an

        Affidavit to that effect must be provided. If Plaintiff does not currently have such an account, but

        had such an account at some time prior, then an Affidavit to that effect must be provided,

        including the time frame such an account existed.

        Dated:      New York, New York
                    June 21,2017

                                                      Yourscac.


                                                      BY: Robert J. Chappell
                                                      AARONSON RAPPAPORT FEINSTEIN &
                                                      DEUTSCH,LLP
                                                      Attorneys for Defendants
                                                      SHAILINI SINGH, M.D. and NYU LUTHERAN
                                                      MEDICAL CENTER s/h/a LUTHERAN
                                                      MEDICAL CENTER
                                                      Office & P.O. Address
                                                      600 Third Avenue
                                                      New York, NY 10016
                                                      212-593-6700

        To:         TROLMAN,GALER & LICHTMAN,P.C.
                    Attorneys for Plaintiffs
                    747 Third Avenue - 23rd Floor
                    New York, New York 10017
                    (212)750-1200




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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK                     Civil Court Action No.: 16-6726

  ELVIA PONCE GARCIA and DEMETRIO
  PEREZ LOPEZ,

                                     Plaintiffs,

                     - against -

  UNITED STATES OF AMERICA,
  SHAILINI SINGH, M.D., JOHN ILAGAN,
  M.D. and LUTHERAN MEDICAL
  CENTER,

                                   Defendants.
  NOTICE OF DEPOSITION AND COMBINED DISCOVERY DEMANDS AND NOTICES

               AARONSON RAPPAPORT FEINSTEIN & DEUTSCH, LLP
                                     Defendants
    SHAILINI SINGH, M.D. and NYU LUTHERAN MEDICAL CENTER s/h/a LUTHERAN
                                MEDICAL CENTER
                              Office and Post Address
                                 600 Third Avenue
                               New York, NY 10016
                                   212-593-6700

  To:     ALL PARTIES




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